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                           OFFICE OF THE CLERK
                       UNITED STATES DISTRICT COURT
                          Northern District of California

                                       CIVIL MINUTES


 Date: October 24, 2022            Time: 8:36 – 10:33;
                                         10:46-12:44; 1:30       Judge: YVONNE GONZALEZ
                                         -3:21; 3:30 –           ROGERS
                                          4:26; 4:30 - 4:46
  Case No.: 20-cv-05146-YGR        Case Name: Calhoun, et al. v. Google LLC



Attorneys for Plaintiffs: Jay Barnes, Lesley Weaver, David Straite, An Truong, Sharon Cruz,
Angela Ornelas, Jenny Paulson
Attorneys for Defendant: Andrew Schapiro, Viola Trebicka, Aly Olson, Stephen Broome,
 Dr. Josef T. Ansorge, Jomaire Crawford, Joseph Margolies

Deputy Clerk: Aris Garcia                           Reported by: Raynee Mercado

                                       PROCEEDINGS

Evidentiary Hearing - HELD


See attached.

The Court Orders that the Parties can Order the Sealed Portions of the transcript.

Parties shall meet and confer and submit an edited version of Plaintiffs’ exhibit C-4.


Order to be prepared by:
( )   Plaintiff              ( )     Defendant           (x)    Court
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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

Case No: 20-cv-05146-YGR
Case Name: Calhoun, et al. v. Google LLC

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                             PLAINTIFF ATTORNEY:                    DEFENSE ATTORNEY:
Yvonne Gonzalez Rogers             Jay Barnes, Lesley Weaver, David       Andrew Schapiro, Viola
                                   Straite, An Truong, Sharon Cruz,       Trebicka, Aly Olson, Stephen
                                   Angela Ornelas, Jenny Paulson          Broome, Dr. Josef T. Ansorge,
                                                                          Jomaire Crawford, Joseph
                                                                          Margolies
TRIAL DATE:                        REPORTER(S):                           CLERK:
10/24/2022                         Raynee Mercado                         Aris Garcia

PLF   DEF DATE/TIME
NO.   NO. OFFERED             ID       REC     DESCRIPTION                                          BY
          8:36 a.m.                            Case is Called
             8:38 a.m.                         Discussion with Counsel held
             8:44 a.m.                         Defense Counsel Opening Statement
             8:50 a.m.                         Plaintiffs’ Counsel Opening Statement
             9:01 a.m.                         Defense Counsel Calls witness Dr. Georgios
                                               Zervas for Direct Examination
             9:08 a.m.                         Plaintiffs’ Counsel Voir Dire of witness Dr.
                                               Zervas
             9:12 a.m.                         Dr. Zervas provides tutorial for the Court
             9:30 a.m.                         Defense Counsel direct examination of witness Dr.
                                               Zervas
             10:09 a.m.                        The Court calls Dr. Zubair Shafiq for questioning
             10:18 a.m.                        Plaintiffs’ counsel cross-examination of Dr.
                                               Zervas
B-           10:20 a.m.       X       X        Buyside 2020 Operational Plan –                     P
41                                             June 24, 2019 ***UNDER SEAL***
B-           10:31 a.m.       X       X        Firefox Initial Settings Screen                     P
153
             10:33 a.m.                        Recess
             10:46 a.m.                        Plaintiffs’ Counsel resumes cross-examination of
                                               Dr. Zervas
C-4          10:47 a.m.       X       x        Prof. Zubair Shafiq, with Exhibit 1 – Report, and   P
                                               Errata (Supplemental) ***UNDER SEAL***
B-           10:48 a.m.       X       X        Securing Doubleclick.net – October 22, 2019          p
62
B-           11:05 a.m.       X       X        uBlock Origin                                       P
154
B-           11:05 a.m.       X       X        Plaintiffs’ supplemental demonstratives             P
155
             11:33 a.m.                        Defense Counsel re-direct of witness Dr. Zervas
             11:36 a.m.                        Witness Dr. Zervas is excused
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        11:36 a.m.               Defense Counsel calls Dr. Glenn Berntson for
                                 direct examination
        11:55 a.m.               Plaintiffs’ Counsel cross-examination of witness
                                 Dr. Bernston
B-      11:58 a.m.   X    X      “Offline Measurement in an Evolving Media             P
54                               Landscape” – July 18, 2019
                                 (at -158–60)
        12:01 p.m.               Defense Counsel calls witness Steve Ganem for
                                 direct examination
        12:12 p.m.               Plaintiffs’ Counsel cross-examination of witness
                                 Ganem
        12:19 p.m.               Defense Counsel re-direct of witness Ganem
        12:19 p.m.               Witness Ganem is excused.
        12:20 p.m.               Defense Counsel calls witness Dr. Adriana Porter
                                 Felt for direct examination
        12:44 p.m.               Recess
        1:30 p.m.                Plaintiffs’ Counsel cross-examination of witness
                                 Felt
        1:36 p.m.                Witness Felt is excused
        1:37 p.m.                Defense Counsel calls witness Greg Fair for direct
                                 examination
        1:43 p.m.                Plaintiffs’ Counsel cross-examination of witness
                                 Fair
A-2     1:52 p.m.    X    x      Michael Kleber, Google 30(b)(6) – Excerpts from
                                 Deposition Transcript
        2:03 p.m.                Defense Counsel re-direct of witness Fair
        2:04 p.m.                Witness Fair is excused
        2:04 p.m.                Defense Counsel calls Michael Kleber for direct
                                 examination
        2:25 p.m.                Plaintiffs’ Counsel cross-examination of witness
                                 Kleber
B-      2:41 p.m.    X           “Project Dossier” – July 31, 2014
17
        2:42 p.m.                Defense Counsel re-direct of witness Kleber
        2:47 p.m.                Plaintiffs’ Counsel re-cross examination of
                                 witness Kleber
        2:49 p.m.                Witness Kleber is excused
        2:50 p.m.                Plaintiffs’ Counsel calls witness Richard Smith
                                 for direct examination
B-      2:51 p.m.    X    X      Declaration of Richard Smith in support of            P
149                              Plaintiffs’ Motion for Class Certification, Dkt.
                                 339-10
        2:58 p.m.                Witness Smith admitted as an expert witness
        3:11 p.m.                Defense Counsel cross-examination of witness
                                 Smith
        3:20 p.m.                Witness Smith is excused
        3:21 p.m.                Recess
        3:30 p.m.                Courtroom is sealed
        3:30 p.m.                Plaintiffs’ Counsel calls witness Dr. Zubair Shafiq
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                           for direct examination
  3:59 p.m.                Discussion with counsel. Witness Bernston is
                           excused.
  4:00 p.m.                Plaintiffs’ Counsel resumes direct examination of
                           witness Dr. Shafiq
  4:10 p.m.                Defense Counsel cross-examination of witness Dr.
                           Shafiq
  4:25 p.m.                Plaintiffs’ Counsel re-direct examination of
                           witness Dr. Shafiq
  4:26 p.m.                Witness Dr. Shafiq is excused
  4:26 p.m.                Recess
  4:30 p.m.                Defense Counsel closing statement
  4:38 p.m.                Plaintiffs’ Counsel closing statement
  4:46 p.m.                Court is in recess. Matter taken under submission
